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4                            UNITED STATES DISTRICT COURT

5                           EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                 No. 2:14-cr-00043-GEB-7
8                     Plaintiff,
9            v.                                ORDER
10   EDWIN FORREST LUDWIG III,
11                    Defendant.
12

13                 It has come to the undersigned judge’s attention that

14   Defendant      Edwin   Forrest   Ludwig       III’s   March   23,    2015,   pro   se

15   filing, (ECF No. 117), which is currently under seal, should be

16   filed    on    the   public   docket.   Therefore,      it    is    hereby   ordered

17   unsealed.

18   Dated:       January 25, 2016

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